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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MONTANA NUL 20
BUTTE DIVISION ‘Sere 2019
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UNITED STATES OF AMERICA, Cause No. CR 14-23-BU-DLC
Plaintiff/Respondent,
vs. ORDER TO UNITED STATES

ANGEL ITURBE-GONZALEZ,

Defendant/Movant.

 

 

This case comes before the Court on Defendant/Movant Angel Iturbe-
Gonzalez’s motion to vacate, set aside, or correct the sentence under 28 U.S.C. §
2255. Iturbe is a federal prisoner proceeding pro se.

The Court has reviewed the motion under Rule 4(b) of the Rules Governing
§ 2255 Proceedings. An answer is not required at this time. The United States
must, however, respond to one allegation.

Iturbe says that “he would have agreed to the plea offer” if he “had known
that the plea agreement truly locked in a sentence of 57 months once the Court
accepted his plea.” Br. in Supp. at 20; Iturbe Decl. at 4 29.

The United States must respond by stating whether and when it offered
Iturbe a plea agreement under Fed. R. Crim. P. 11(c)(1)(C) that would have

resulted in a sentence of 57 months if the Court had accepted the plea agreement.
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It must also file any offers it made or memorialized in writing.

Accordingly, IT IS ORDERED that the United States must respond to this
Order on or before August 2, 2019.

DATED this 22 day of July, 2019

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Dana L. Christensen, Chief Judge
United States District Court
